 Case 24-30168        Doc 24   Filed 05/15/24 Entered 05/15/24 15:50:45       Desc Main
                                Document     Page 1 of 22



                        UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF NORTH DAKOTA

In re:                                    )
                                          )            Case No. 24-30168
   Stark Energy, Inc.,                    )            Chapter 11, Subchapter V
                                          )
         Debtor.                          )


           DEBTOR’S OBJECTION TO GATE CITY BANK’S MOTION TO LIFT
                             AUTOMATIC STAY


         Stark Energy, Inc. (the “Debtor”) objects to the Motion for Relief from Automatic

Stay (the “Motion”) filed by Gate City Bank (the “Bank”). The Bank requests relief from

the automatic stay to retain possession of and continue forward with the auction of

eighteen (18) titled vehicles that are described in detail in the Bank’s motion (the

“Vehicles”). For purposes of addressing the Bank’s motion, the Debtor states as follows:

            1. The Debtor filed its bankruptcy petition in good faith, with the intent to

               continue its business and to repay its debts to the best of its ability as

               required by the Bankruptcy Code.

            2. The Debtor agrees that there is no equity in the Vehicles. Both the Debtor

               and the Bank agree that, in their present condition, the Vehicles are worth

               approximately $150,000. The Bank alleges that it is owed in excess of

               $400,000. [Doc. 16; para. 22]. While the Debtor has not had an opportunity

               to review the Bank’s alleged debt, it agrees that it owes more than $150,000

               to the Bank.




                                              1
 Case 24-30168      Doc 24    Filed 05/15/24 Entered 05/15/24 15:50:45         Desc Main
                               Document     Page 2 of 22



          3. The Vehicles are necessary for an effective reorganization. Without the

              Vehicles, the Debtor will not be able to produce sufficient revenue to fund

              an effective plan of reorganization or pay back his creditors.

          4. The Debtor has the ability to, and hereby offers to, pay the Bank $2,500 per

              month as “adequate protection” payments. Vehicles are ordinarily subject

              to 5-year (60 month) straight line depreciation. Accordingly, the offer of

              $2,500 per month reflects the ordinary, expected depreciation of the

              Vehicles ($150,000 divided by 60). In addition to these monthly payments,

              the Debtor will insure and maintain the Vehicles. To the extent the Vehicles

              are in disrepair, as alleged by the Bank, the improvements made to the

              Vehicles to make the Vehicles road-worthy will add to the protection of the

              Bank by increasing the value of the Vehicles.

As will be discussed in greater detail below, there is no “cause” to terminate or otherwise

modify the automatic stay, and the Vehicles are necessary for an effective reorganization.

Accordingly, the Court should deny the Bank’s motion.

                                    BACKGROUND

       In 2017, the Debtor began operating as a hauling company. See Declaration of

Robert Fettig (“Fettig Dec.”), ¶ 2. To purchase some of the equipment needed to operate,

the Debtor took out loans from various sources including the Bank. (Fettig Dec., ¶ 3).

The vast majority of the Debtor’s business centered on the North Dakota oil fields.

(Fettig Dec., ¶ 2). The Debtor initially operated smoothly, having good cashflow and

meeting the payments on its loans. (Fettig Dec., ¶ 4).


                                             2
  Case 24-30168      Doc 24    Filed 05/15/24 Entered 05/15/24 15:50:45          Desc Main
                                Document     Page 3 of 22



       Then in 2019, the Debtor’s principal, Robert Fettig, bought out his partner for

$150,000. (Fettig Dec., ¶ 5). In ordinary circumstances, the Debtor would have been able

to handle the debt service caused by the buy-out. (Fettig Dec., ¶ 5). Unfortunately, Mr.

Fettig was not able to foresee the instability that would be caused by the COVID

pandemic in 2020.

       As a result of the pandemic, there was a worldwide slump in the demand for oil.

(Fettig Dec., ¶ 6). The Court may recall news reports of smog clearing so that the Taj

Mahal could be viewed without this impediment and even, for a short time, the

negative price of oil. As a result of the downturn in the oil business, North Dakota oil

fields were being pulled out of production and the Debtor was forced to look for other

industries to ply its trade. (Fettig Dec., ¶ 8). The Debtor was also required to take on

additional debt and receive funds from government programs enacted to retain

employees and assist small businesses through the ongoing COVID pandemic. (Fettig

Dec., ¶ 8).

       Following the pandemic, the Debtor’s business began to recover. (Fettig Dec., ¶

9). However, due to the Debtor’s inexperience in these new industries and the large

amount of debt it had accrued, any recovery the Debtor experienced was insufficient in

the face of rising expenditures and a falling workforce. (Fettig Dec., ¶ 9).

       In 2023, the Bank began foreclosure proceedings on the Vehicles. (Fettig Dec., ¶

10). The Debtor’s other creditors learned of this and began demanding and in some

cases taking the Debtor’s assets that they felt they were entitled to. (Fettig Dec., ¶ 11).




                                              3
  Case 24-30168      Doc 24      Filed 05/15/24 Entered 05/15/24 15:50:45          Desc Main
                                  Document     Page 4 of 22



Due to this, the Debtor lost possession of the majority of its assets including the

Vehicles. (Fettig Dec., ¶ 12).

                                    LEGAL ARGUMENT

   I.      THE DEBTOR FILED FOR BANKRUPTCY IN GOOD FAITH.

        Under the Bankruptcy Code, the filing of a petition automatically stays most

judicial actions against the debtor. 11 U.S.C. § 362(a)(1). This provision exists to give the

debtor a respite to marshal their resources so that they may satisfy outstanding

obligations. In re Vierkant, 240 B.R. 317, 320 (B.A.P. 8th Cir. 1999).

        In rare circumstances, a creditor is entitled to relief from this automatic stay “for

cause.” 11 U.S.C. § 362(d)(1). The Bankruptcy Code does not define the term “cause.”

Instead, the courts must determine whether the stay is to be lifted on a case-by-case

basis. In re Laguna Assocs. Ltd. P’ship, 30 F.3d 734, 737 (6th Cir. 1994). It is generally

accepted that a debtor’s lack of good faith may be the basis for lifting the automatic

stay. See, Matter of United Imports, Inc., 203 B.R. 162, (Bankr.D.Neb. 1996); In re Knight

Jewelry, 168 B.R. 199 (Bankr.W.D.Mo. 1994); In re Laguna; Carolin Corp v. Miller, 886 F.2d

693 (4th Cir. 1989); In re Arnold, 806 F.2d 937 (9th Cir. 1986); In re Little Creek Dev. Co.,

779 F.2d 1068 (5th Cir. 1986). While no single fact is dispositive, courts consider the

following factors when evaluating an organizational debtor’s good faith:

        (1) the debtor has one asset;

        (2) the pre-petition conduct of the debtor has been improper;

        (3) there are only a few unsecured creditors;




                                               4
  Case 24-30168      Doc 24    Filed 05/15/24 Entered 05/15/24 15:50:45         Desc Main
                                Document     Page 5 of 22



       (4) the debtor’s property has been posted for foreclosure, and the debtor has been

       unsuccessful in defending against the foreclosure in state court;

       (5) the debtor and one creditor have proceeded to a standstill in state court

       litigation, and the debtor has lost or has been required to post a bond which it

       cannot afford;

       (6) the filing of the petition effectively allows the debtor to evade court orders;

       (7) the debtor has no ongoing business employees; and

       (8) the lack of possibility of reorganization.

In re Laguna, 30 F.3d at 738. However, these indicia are not an exhaustive list of relevant

factors and courts must consider the totality of circumstances when determining a

debtor’s good faith. Id. Relief from stay should not be granted lightly and should only

be applied in “extreme circumstances.” In re Kissinger, 72 F.3d 107, 109 (9th Cir. 1995).

       In this case, by applying these factors, the Court should conclude that the Debtor

filed its petition in good faith. Regarding the first factor, the Debtor has multiple assets.

(Fettig Dec., ¶ 15). In addition to the Vehicles and the real property in Stark County,

North Dakota the Bank has pointed out in its motion, the Debtor owns other vehicles

and equipment as will be shown in the Debtor’s schedules anticipated to be filed

following the deadline to submit this response. (Fettig Dec., ¶ 15).

       Regarding the second factor, the Debtor’s prepetition conduct has not been

improper. In its motion, the Bank alleges that the Debtor refused to turn over the

Vehicles in defiance of court orders. (Doc. 16, ¶ 8). However, the Bank fails to mention

that at the time those orders were issued another creditor had taken the Vehicles and


                                              5
  Case 24-30168      Doc 24      Filed 05/15/24 Entered 05/15/24 15:50:45       Desc Main
                                  Document     Page 6 of 22



the Debtor could not turn them over. (Fettig Dec., ¶ 16). As the Debtor’s business began

to wane and its debts began to grow, the Debtor, burdened by the pressures of

navigating through this rough period and placating its various creditors, was unable to

monitor and protect all its assets. Sometime in 2023, the Vehicles were taken from the

Debtor’s possession by various bad actors. The Bank states in its own motion that the

Stark County Sheriff’s Office located the Vehicles on the property of Yuker Towing,

another creditor of the Debtor. (Doc. 16, ¶ 11). The Bank also accuses Robert Fetting, the

Debtor’s principal, of criminal conduct. (Doc. 16, ¶ 19(b)). These cases are currently

pending and Mr. Fettig should be presumed innocent until proven guilty. See Case No.

45-2024-CR-157 and Case No. 45-2024-CR-277. The Bank is free to force these cases

through the judicial system, however, a pending charge is not equivalent to criminal

conduct.

       Regarding the third factor, the Debtor expects to list the Bank and numerous

other creditors in its schedules, which will be filed following the deadline to file this

response. (Fettig Dec., ¶ 15).

       Regarding the fourth factor, while the Vehicles have been foreclosed upon, the

Debtor possesses other property which has not been posted for foreclosure. (Fettig Dec.,

¶ 15). This is not unusual in a bankruptcy. The Bank wishes to paint the Debtor as a one-

asset entity with the Bank as its lone creditor, however, that is simply not the case. The

Debtor has multiple obligations to multiple different creditors and has declared

bankruptcy in an attempt to seek relief and to repay his creditors to the best of its

ability, as required by the Bankruptcy Code. (Fettig Dec., ¶¶ 14, 15).


                                              6
  Case 24-30168       Doc 24    Filed 05/15/24 Entered 05/15/24 15:50:45        Desc Main
                                 Document     Page 7 of 22



       Regarding the fifth factor, the Bank has been granted judgments against the

Debtor, however, no single factor is determinative, and those obligations are not an

insurmountable debt. The Debtor, if allowed to continue its business under a plan of

reorganization, should have the means to propose and confirm an effective plan to

repay its creditors. (Fettig Dec., ¶ 22).

       Regarding the sixth factor, the Debtor is not evading any court orders within the

meaning of this case law. The Bank recovered the Vehicles – from another creditor who

had taken the Vehicles. Through the current bankruptcy proceeding, the Debtor is

seeking the ability to continue its business so that it can develop a plan of

reorganization that will benefit all its creditors.

       Regarding the seventh factor, the Debtor does have an ongoing business. (Fettig

Dec., ¶ 19). It is currently operating on a limited basis and producing revenues. (Fettig

Dec., ¶ 19). While the Debtor will require the return of the Vehicles to fund its

anticipated plan of reorganization, it currently has an on-going business. (Fettig Dec., ¶

21).

       Regarding the eighth factor, the Debtor has a high likelihood of reorganization.

This factor will be discussed in greater detail below.

       Finally, it is important to reiterate that while these factors are useful the Court

must consider the totality of the circumstances. The Debtor has been in business since

2017 and was operating successfully until a series of unfortunate events occurred. The

Debtor expended a large amount of capital buying out his partner in 2019, then in 2020

the entire world changed with the pandemic. The oilfields and all related industries,


                                               7
 Case 24-30168        Doc 24    Filed 05/15/24 Entered 05/15/24 15:50:45      Desc Main
                                 Document     Page 8 of 22



including the Debtor’s business, experienced a severe contraction. The Debtor was

forced to find alternate sources of revenue, borrow money and obtain government

assistance from programs enacted to assist small businesses damaged by the COVID

pandemic. While business eventually started to recover, the Debtor was overwhelmed

with debt. Then in 2023, the Bank commenced foreclosure, and other creditors, quickly

learning of this, began demanding and in some instances taking whatever piece of the

Debtor they felt entitled to. The Debtor, simply, was overwhelmed. The Debtor is not a

dishonest debtor and this case does not meet the extreme standards required to lift the

automatic stay under 11 U.S.C. § 362(d)(1).

   II.      THE VEHICLES ARE NECESSARY FOR AN EFFECTIVE
            REORGANIZATION

         Relief from the automatic stay granted debtors under 11 U.S.C. § 362(a)(1) may

also be lifted if the debtor has no equity in the property and the property is not

necessary for an effective reorganization. 11 U.S.C. § 362(d)(2). The Debtor does not

dispute that it lacks equity in the Vehicles. Both the Debtor and the Bank agree that, in

their present condition, the Vehicles are worth approximately $150,000 and that the

debt owed to the Bank is in excess of $150,000. (Fettig Dec., ¶ 20). Here, however,

Section 362(d)(2) does not allow relief from the automatic stay because the Vehicles are

necessary for an effective reorganization.

         Once a creditor has established that a debtor lacks equity in some property, the

burden shifts to the debtor to prove that the property at issue is necessary for an

effective reorganization. Bowman v. Bond (In re Bowman), 253 B.R. 233, 238 (B.A.P. 2000).



                                              8
  Case 24-30168      Doc 24     Filed 05/15/24 Entered 05/15/24 15:50:45           Desc Main
                                 Document     Page 9 of 22



The debtor must show that there is a “reasonable possibility of a successful

reorganization within a reasonable time.” United Sav. Ass’n of Tex. v. Timbers of Inwood

Forest Assocs., Ltd., 484 U.S. 365 (1988). In the Eighth Circuit, the “feasibility test”

applies. In re Bowman, 253 B.R. at 238. Under the feasibility test, a court must determine

“whether things which are to be done after confirmation can be done as a practical

matter under the facts.” Id. at 239.

       As noted by the Bank in its briefing, the “Debtor has not yet put forth a plan; so

the Bank cannot respond to whether the plan would be feasible, or whether the

Recovered Vehicle Collateral would be truly necessary to the plan”. See Doc. 16, ¶ 25. In

fact, as of the date this response is filed, the Debtor has not yet filed its schedules. The

Bank is simply too early in the case to allege that an effective reorganization is

untenable. In applying the “effective reorganization” standard, courts commonly allow

the Debtor the opportunity to first submit a plan. See In re W.S. Sheppley & Co., 45 B.R.

473, 481 (Bankr.N.D.Iowa 1984)(the court denied relief from stay noting that the

creditor’s motion was filed less than two months after filing the initial petition and that

granting the motion would essentially eliminate any possibility of an effective

reorganization).

       In this case, the Vehicles are central to the Debtor’s operations, and the loss of the

Vehicles would undermine any chance of a successful reorganization. The Debtor’s

ability to develop an effective plan of reorganization is underscored by reviewing the

pre-COVID Debtor. Robert Fettig, the principal of Debtor, started the company in April

of 2017 with one truck and a trailer. Prior to this, he worked in the oil and gas industry


                                               9
  Case 24-30168        Doc 24    Filed 05/15/24 Entered 05/15/24 15:50:45         Desc Main
                                 Document      Page 10 of 22



for 5 and a half years. (Fettig Dec., ¶ 22). In 2017, its first year of operation, the company

grossed $176,000. In late 2017 and through 2018, the Debtor acquired additional trucks

for hauling aggregate, a flatbed truck for heavy hauling, a hydrovac, and other

equipment for drilling services. (Fettig Dec., ¶ 22). The Debtor ended 2018 with gross

revenues of $1.65 million. (Fettig Dec., ¶ 22). Staying on this trajectory, Stark grossed

$4.85 million in 2019 with the full utilization of the vehicles it is now seeking to recover.

(Fettig Dec., ¶ 22). The past doesn’t predict the future; however, this history

demonstrates that the Debtor has the experience, ability, and commitment to produce a

successful outcome. It also demonstrates the value of the Vehicles, when put to use,

will provide a better outcome for the creditors when compared to liquidation or

disposal.

          To conclude, without the Vehicles, the Debtor will not be able to produce

sufficient revenue to fund an effective plan of reorganization or pay back his creditors.

As a business that hauls water and aggregate, the Vehicles are clearly necessary for an

effective reorganization, and the Debtor’s history demonstrates that an effective

reorganization is possible.

   III.      THE DEBTOR IS WILLING AND ABLE TO PROVIDE ADEQUATE
             PROTECTION PAYMENTS TO THE BANK TO OBTAIN A RETURN OF
             THE VEHICLES.

          Because the Vehicles are currently sitting unused in the possession of the Bank,

the Bank is not presently entitled to adequate protection payments with respect to the

Vehicles. Nonetheless, to obtain a return of the Vehicles, the Debtor understands that it

will need to provide adequate protection of the Bank’s interest in the Vehicles. (Fettig


                                              10
  Case 24-30168      Doc 24    Filed 05/15/24 Entered 05/15/24 15:50:45         Desc Main
                               Document      Page 11 of 22



Dec., ¶ 23). To this end, the Debtor hereby offers $2,500 per month to obtain a return of

the Vehicles. (Fettig Dec., ¶ 23). In addition to these monthly payments, the Debtor will

insure and maintain the Vehicles. (Fettig Dec., ¶ 23). To the extent the Vehicles are in

disrepair, as alleged by the Bank, the Debtor will by necessity repair the Vehicles to

make them road-worthy and these improvements will add to the protection of the Bank

by increasing the value of the Vehicles. (Fettig Dec., ¶ 24).

       The offered payment of $2,500 per month will fully compensate the Bank for the

depreciation of equipment that occurs as it is used. Adequate protection payments are

intended to reflect the depreciation or decline in value that occurs as an asset is used.

The general rule is that, in order to obtain adequate protection payments, “. . . the

moving party must provide evidence that the value of the collateralized property is

declining, or at least threatened, as a result of the automatic stay.” In re Panther

Mountain Land Dev., LLC, 438 B.R. 169, 189 (Bankr. E.D. Ark. 2010). When arguing that

the value of collateral is depreciating, the creditor must provide evidence of actual or

expected depreciation or some other decline in value from the petition date to the date

of the filing of the motion. Id. (“The most direct and convincing proof that the value is

‘declining, or at least threatened’ comes from a comparison of the property value at the

time of the hearing to the property value on the date of filing.”).

       Here, the Bank provides no evidence of depreciation or decline in value because

the equipment is currently sitting unused. When put in use, vehicles are ordinarily

subject to 5-year (60 month) straight line depreciation. See Declaration of Nicole Wald, ¶

3. In the present case, both the Bank and Debtor agree that the Vehicles are presently


                                             11
 Case 24-30168      Doc 24    Filed 05/15/24 Entered 05/15/24 15:50:45        Desc Main
                              Document      Page 12 of 22



worth approximately $150,000. Accordingly, the Debtor’s offer of $2,500 per month

reflects the ordinary, expected depreciation of the Vehicles ($150,000 divided by 60).

       The Bank raises the concern that “the Debtor and its principal Robert Fettig

would again hide the Recovered Vehicle Collateral and/or continue selling it for parts

in the event the Debtor was allowed to recover possession”. See Doc. 16, ¶ 26. It must be

emphasized that the Bank recovered the Vehicles from another creditor that had taken

the Vehicles. There is no evidence that the Debtor or Mr. Fettig hid the Vehicles.

Moreover, while the Bank implies that the Debtor sold parts off the Vehicles, Mr. Fettig

would testify that he did not sell parts off the Vehicles and that there were not parts

missing from the Vehicles when they were taken from his possession. (Fettig Dec., ¶ 18).

Again, it must be emphasized that the Bank recovered the Vehicles from another

creditor – not from the Debtor – and the Bank cannot hold the Debtor responsible for

parts missing from the Vehicles to the extent they were removed by the creditor that

had originally taken the Vehicles from the Debtor.

       WHEREFORE, for the foregoing reasons, the Debtor respectfully requests entry of

an order denying the Bank’s motion and allowing the court to hear his plan of

reorganization.

                                         Ahlgren Law Office, PLLC

Dated: May 15, 2024                      /s/Erik A. Ahlgren




                                            12
Case 24-30168   Doc 24   Filed 05/15/24 Entered 05/15/24 15:50:45    Desc Main
                         Document      Page 13 of 22



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                                     13
 Case 24-30168        Doc 24    Filed 05/15/24 Entered 05/15/24 15:50:45        Desc Main
                                Document      Page 14 of 22



                        UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF NORTH DAKOTA


In re:                                     )
                                           )             Case No. 24-30168
   Stark Energy, Inc.,                     )             Chapter 11, Subchapter V
                                           )
         Debtor.                           )


              DECLARATION OF ROBERT FETTIG IN SUPPORT OF DEBTOR’S
                    OBJECTION TO GATE CITY BANK’S MOTION
                           TO LIFT AUTOMATIC STAY


         I, Robert Fettig, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

         1.     I am the president and sole shareholder of the Debtor in the above

captioned case and am personally familiar with the facts as stated herein.

         2.     In 2017, I along with my partner, Mathew J. Barrett, organized the Debtor

and operated it as a business whose primary purpose was hauling water and supplies

to and from the oil fields located in North Dakota.

         3.     The Debtor took out numerous loans from various different institutions,

including Gate City Bank, to acquire the initial funding required to purchase the

equipment necessary to operate in the hauling industry. To secure these loans, security

interests in the equipment were granted to the lenders.

         4.     From 2017 to 2019, the Debtor had good cashflow and made timely

payments on its loans.




                                               1
 Case 24-30168      Doc 24    Filed 05/15/24 Entered 05/15/24 15:50:45        Desc Main
                              Document      Page 15 of 22



       5.     In 2019, I bought out Mathew J. Barrett’s interest in the Debtor for

$150,000, which at the time seemed a reasonable expense given the revenue being

generated by the Debtor.

       6.     In 2020, the COVID pandemic began and as a result of the pandemic there

was a worldwide slump in the demand for oil and an increase in the expenses of oil

drilling companies. This caused an economic downturn for the oil industry including

the oil fields in North Dakota.

       7.     This economic downturn for the oil companies in North Dakota resulted

in a sharp decline of business for the Debtor.

       8.     Due to this sharp decline in revenue, the Debtor was forced to begin

hauling for the aggregate industry, which I lacked experience in, and to take out further

loans and receive funds from government programs enacted to retain employees and

assist small businesses through the ongoing COVID pandemic.

       9.     Following the pandemic, the Debtor’s business began to recover.

However, due to my inexperience in the aggregate industry and the large amount of

debt accrued throughout the pandemic, the recovery was insufficient in the face of

rising expenditures and a falling workforce.

       10.    In 2023, Gate City Bank (the “Bank”) began foreclosure proceedings on the

equipment it held security interests in.

       11.    Shortly after the Bank began foreclosure proceedings, many other

creditors of the Debtor learned of these proceedings and began demanding and

pressuring the Debtor to turn over money and assets that they held security interests in.

                                             2
  Case 24-30168      Doc 24    Filed 05/15/24 Entered 05/15/24 15:50:45          Desc Main
                               Document      Page 16 of 22



       12.    Sometime in 2023, due to the constant demands from creditors creating

pressure and distractions, the Debtor lost possession of the vast majority of its assets

due to bad actors including the Recovered Vehicle Collateral as defined in the Bank’s

motion (the “Vehicles”).

       13.    On April 23, 2024, the Debtor filed its petition for bankruptcy under

Chapter 11, Subchapter V of the Bankruptcy Code.

       14.    I caused the Debtor to file bankruptcy in good faith, for the purpose of

developing a plan of reorganization that will benefit all its creditors.

       15.    As will be shown on the schedules filed in support of the Debtor’s

bankruptcy petition, the Debtor has multiple assets other than the assets secured by the

Bank and multiple creditors other than the Bank.

       16.    At the time the Debtor was served with the Order for Prejudgment

Seizure that was entered on October 11, 2023 most of the equipment the Bank held a

security interest in had been taken by another creditor and the Debtor could not turn

them over.

       17.    It is my understanding that the Bank recovered the assets that are the

subject of their motion from Yuker Towing. It is my further understanding that Yuker

Towing took the assets because they were a creditor of the Debtor and wished to use

these assets to repay the debt owed to them.

       18.    While the Bank implies that I or others on behalf of the Debtor sold parts

off the vehicles and trailers that are subject to the Bank’s security interest, but that is not



                                               3
  Case 24-30168      Doc 24    Filed 05/15/24 Entered 05/15/24 15:50:45         Desc Main
                               Document      Page 17 of 22



true. I am not aware of parts missing from the equipment while the equipment was in

the Debtor’s possession.

       19.    The Debtor is currently operating and producing revenues, though on a

limited basis. My focus is to obtain a return of the Gate City collateral so that we can

expand our business. I have people ready, willing and able to work for me and I am

confident that I can bring in profitable work orders and contracts.

       20.    Attached as Exhibit A is a list of equipment that is currently in the

possession of the Bank, along with my valuations of the equipment based on the

auction pricing. The total valuation of the equipment, based on auction pricing, is

approximately $150,000. I understand and agree that the Debtor owes the Bank in

excess of $150,000, so there is no equity in the equipment.

       21.    The equipment held by the Bank is necessary for an effective

reorganization of the Debtor. The vehicles, trailers and tankers in their possession are

central to the Debtor’s operations, and the loss of this equipment would undermine any

chance of a successful reorganization.

       22.    I am confident that I can develop an effective plan of reorganization for

the Debtor. I started the company in April of 2017 with one truck and a trailer. Prior to

this, I worked in the oil and gas industry for 5.5 years. In 2017, the Debtor’s first year of

operation, the company grossed $176,000. The Debtor acquired a flatbed trailer for

hauling pipe/materials in 2018, additional trailers in 2019 for hauling aggregate, and a

hydrovac in 2022 for spill cleanups and tank cleanings, and other equipment for drilling

services. The Debtor ended 2018 with gross revenues of $1.65 million. In 2019, the

                                              4
Case 24-30168   Doc 24   Filed 05/15/24 Entered 05/15/24 15:50:45   Desc Main
                         Document      Page 18 of 22
    Case 24-30168               Doc 24   Filed 05/15/24 Entered 05/15/24 15:50:45                          Desc Main
                                         Document      Page 19 of 22

        Belly Dump - Trailers
                Unit #            Year      Make               Model                    Vin #          Plate         Auction Value
1              BD - 001           1999     Midland              3 axle            2MFB2S4D4XR000542    T998661          9,800.00
2              BD - 002           2000     Midland              3 axle            2MFB2S3D3YR000650    T998663         10,500.00
3              BD - 003           2000     Midland              3 axle            2MFB2S3D7YR000652    T998664         10,500.00
4              BD - 004           2000     Midland              3 axle            2MFB2S4D3YR001148    T998662          4,200.00
5              BD - 005           2000     Midland              3 axle            2MFB2S3D5YR000651    T998665         10,500.00
6              BD - 006           2013     Dakota               3 axle            1D9SH4339DY554348    T998666         12,250.00



        Side Dump - Trailers
                Unit #            Year      Make               Model                    Vin #          Plate         Auction Value
1              SD - 001           2016    Side Dumper        SDR 342-49           1D9FS4430GC688099    T998370         25,250.00
2              SD - 002           2016    Side Dumper        SDR 342-49           1D9FS4437GC688018    T998369         18,250.00



    Trailers - Vacuum Tankers
                Unit #            Year      Make               Model                    Vin #          Plate         Auction Value
1               T-021             2013      Dragon      200 BBl , 4 axel Spread   1UNST5348DS128118    T997319          1,800.00
2               T-101             2013      Dragon      200 BBL , 4 axel Spread   1UNST5341DS128154    T997311          1,500.00
3               T-103             2014      Dragon      200 BBL , 4 axel Spread   1UNST5340ES128552    T997318          1,500.00
4               T-104             2014      Dragon      200 BBL , 4 axel Spread   1UNST5346ES140026    T995516          1,800.00
5               T-105             2013      Dragon      200 BBL , 4 axel Spread   1UNST5340DS128291    T995515          3,100.00
6               T-106             2013      Dragon      200 BBL , 4 axel Spread   1UNST5343DS128172    T997312          1,300.00
7               T-107             2012      Dragon          150 BBL, 3 axel       1UNST4223CL109253    T997317          3,000.00
8               T-113             2013      Dragon      200 BBl , 4 axel Spread   1UNST5340DS128162    T997313          1,500.00

         Flat Bed - Trailers
                Unit #            Year      Make               Model                    Vin #          Plate         Auction Value
1               FB- 001           2007     Reitnoeur         48' Flat Bed         1RNF48A247R019280    T997321          4,500.00



              Tractors
                Unit #            Year      Make               Model                    Vin #          Plate         Auction Value
1               S-209             2012     Kenworth             W900              1XKWP4TX8CJ335970    243CMM           4,600.00
2               S-208             2007     Kenworth             T800              1XKDP40X07R197151     579CJS          1,000.00
3               S-207             2014     Kenworth             W900              1XKWD49X1EJ413380     33581P         15,250.00
4               S-206             2014     Kenworth             T800               1NKDX4TX3EJ403810                    9,000.00

                                                                                                                 $           151,100.00
  Case 24-30168        Doc 24   Filed 05/15/24 Entered 05/15/24 15:50:45         Desc Main
                                Document      Page 20 of 22


                          UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF NORTH DAKOTA



In re:                                     )
                                           )             Case No. 24-30168
   Stark Energy, Inc.,                     )             Chapter 11, Subchapter V
                                           )
         Debtor.                           )


                   DECLARATION OF NICOLE WALD IN SUPPORT OF DEBTOR’S
                         OBJECTION TO GATE CITY BANK’S MOTION
                                TO LIFT AUTOMATIC STAY


         I, Nicole Wald, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

         1.    I am a Certified Public Accountant. I have worked for two regional public

accounting firms and have my own public practice. I am a member of the North Dakota

Society of CPAs where I serve on the Next Gen Committee, the North Dakota CPA

Society Foundation, where I serve as a Trustee, the American Accounting Association,

the Magic City CPAs where I serve as co-chair as well as serving on the Supervisory

Committee of Aspire Credit Union and the Society of St. Vincent De Paul.

         2.    I have reviewed a list of the equipment that comprises the collateral

securing the Gate City Bank Claim. The collateral consists of Kenworth tractors, and a

variety of belly dump, side dump, and flatbed trailers, as well as vacuum tankers. All of

the tractors, trailers and tankers are used equipment with model years ranging from 1999

to 2016.

         3.    Depreciation is intended to reflect a reasonable estimate of the useful life of

the equipment. It is ordinary to apply a seven-year depreciation schedule to most types of


                                               1
  Case 24-30168      Doc 24    Filed 05/15/24 Entered 05/15/24 15:50:45         Desc Main
                               Document      Page 21 of 22



equipment. A five-year depreciation schedule is often justified for vehicles and assets

used in the construction industry. Based on my experience, I believe a 5-year (60 months)

straight line depreciation schedule would be appropriate for the tractors, trailers and

tankers of the sort that are included on the list of Gate City Bank collateral I reviewed.

       I declare under penalty of perjury that the foregoing is true and correct.

       Date: May 13th, 2024



                                    ________________________________________
                                    Nicole Wald




                                              2
  Case 24-30168        Doc 24     Filed 05/15/24 Entered 05/15/24 15:50:45         Desc Main
                                  Document      Page 22 of 22



                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF NORTH DAKOTA


In re:

Stark Energy, Inc.                                            Bky. Case No. 24-30168
                                                              Chapter 11 Subchapter V
                Debtor.


                                  CERTIFICATE OF SERVICE


         I, Lisa Ahlgren certify, that on May 15, 2024, the following document:

         Debtor’s Objection to Gate City Bank’s Motion to Lift Automatic Stay

was filed electronically with the Clerk of Court through CM/ECF and that those parties

requesting electronic service were served by CM/ECF.




Executed: May 15, 2024                         /s/Lisa Ahlgren
                                               Lisa Ahlgren
